           2:19-cv-01601-DCN            Date Filed 06/04/19           Entry Number 1-1                  Page 1 of 19

A   lb.

;_:_t CT Corporation                                                             Service of Process
                                                                                 Transmittal
                                                                                 05/06/2019
                                                                                 CT Log Number 535422385
          TO:     Tricia Davini, Tax Manager
                  Stockbridge Capital Group, LLC
                  4 Embarcadero Ctr Ste 3300
                  San Francisco, CA 94111-4184

          RE:     Process Served in South Carolina

          FOR: SCG PATRIOTS PLAZA, LP (Domestic State: DE)




          ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

          TITLE OF ACTION:                 GREGORY LASKY, Pltf. vs. SCO PATROITS PLAZA L.R, Dft.
          DOCUMENT(S) SERVED:              SUMMONS, COMPLAINT(S), COVER SHEET(S)
          COURT/AGENCY:                    Charleston County Court of Common Pleas, SC
                                           Case # 2019CP101565
          NATURE OF ACTION:                Complaint for Violation of Federal Law Title III of the Americans with Disabilities
                                           Act, 42 U.S.C. 12101, Et Seq.
          ON WHOM PROCESS WAS SERVED:      CT Corporation System, Columbia, SC
          DATE AND HOUR OF SERVICE:        By Process Server on 05/06/2019 at 08:15
          JURISDICTION SERVED:             South Carolina
          APPEARANCE OR ANSWER DUE:        Within 30 Days After Service Hereof, Exclusive of the Day of Such Service
          ATTORNEY(S) / SENDER(S):         Anthony J. Brady, Jr.
                                           Law Office of Anthony Brady, Jr.
                                           1670-9 Springdale Drive
                                           PMB 159.
                                           Camden, SC 29020
                                           561-603-8387
          REMARKS:                         (Underlined) The documents received have been modified to reflect the name of
                                           the entity being served.
          ACTION ITEMS:                    SOP Papers with Transmittal, via UPS Next Day Air, 12)(212780131058375

                                           Image SOP

          SIGNED:                          CT Corporation System
          ADDRESS:                         2 Office Park Court
                                           Suite 103
                                           Columbia, SC 29223
          TELEPHONE:                       302-658-7581




                                                                                 Page 1 of 1 / AK
                                                                                 Information displayed on this transmittal is for CT
                                                                                 Corporation's record keeping purposes only and is provided to
                                                                                 the recipient for quick reference. This information does not
                                                                                 constitute a legal opinion as to the nature of action, the
                                                                                 amount of damages, the answer date, or any information
                                                                                 contained in the documents themselves. Recipient is
                                                                                 responsible for interpreting said documents and for taking
                                                                                 appropriate action. Signatures on certified mail receipts
                                                                                 confirm receipt of package only, not contents.
        2:19-cv-01601-DCN           Date Filed 06/04/19       Entry Number 1-1           Page 2 of 19




STATE OF SOUTH CAROLINA                      )       THE COURT OF COMMON
                                             )       PLEAS

                                             )       9TH JUDICIAL CIRCUIT
COUNTY OF CHARLESTON                         )
                                                 q0 11—                   15P5
GREGORY LASKY

               Plaintiff,                            FILE .NO.


                                                     SUMMONS



                                                                                                • •




TO THE DEFENDANT ABOVE-NAMED:
       YOU ARE HEREBY SUMMONED and required to answer the complaint herein, a copy of w
hich is herewith served upon you, and to serve a copy of your answer to this complaint upon the subsc
riber, at the address shown below, within thirty (30) days after service hereof, exclusive of the day of
such service, and if you fail to answer the complaint, judgment by default will be rendered against

you for the relief demanded in the complaint.




Camden, South Carolina.
                                                      S/Anthony Brady r       ,
                                                      Plaintiff/Attorney f ;43 aintiff
Dated: March 17, 2019.
                                        Address:      Anthony J. Brady Jr.
                                                      1670-9 Springdale Drive
                                                      PMB 159
                                                      Camden, South Carolina 29020
                                                      561-603-8387                                         J
                                                      Email: Ladbrady@gmail.om
                                                      Attorney ID. 15506
         2:19-cv-01601-DCN           Date Filed 06/04/19       Entry Number 1-1         Page 3 of 19




STATE 0.F SOUTH CAROLINA                                      THE COURT OF COMMON
                                                              PLEAS

                                               )              91.11 JUDICIAL CIRCUIT                            r...)
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COUNTY OF CHARLESTON                                                                             C.
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GREGORY LASKY                                  )               CASE NO.                        ''I'.....7.•
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                                               )                                                        c: -m•                 -...
               Plaintiff,                      )              Civil Action
                                                                                                 7...;-fi.1.;       9
       vs.                                     )                                                       :r_
                                               )                                                                        cia
SCG PATROITS PLAZA L.P                         )              COMPLAINT                  1

               Defendant(s).


Plaintiff, residing at 20 South Main Street ,Glassboro, New Jersey by way of complaint against the

Defendant states:

I.     This Honorable Court has jurisdiction in that it is a Court of general jurisdiction and the

Plaintiff has alleged a violation of federal law Title 1.11 of the Americans with Disabilities Act, 42

U.S.C. § 12101, et seq. Plaintiffs' claim is greater than $15,000.00 and venue is proper in Charleston

County because the cause of action arose in Charleston County and that Defendant resides in

Charleston County.

                                              PARTIES

2.     Plaintiff, resides at 20 South Main Street St Glassboro New jersey who used to

reside in South Carolina. He is a disabled man because of a medical mishap becoming has partial

Tetraplegia. As a result he cannot walk and uses a wheelchair. He qualifies as an individual with

disabilities as defined by the federal Americans with Disabilities Act (ADA).

3.      The defendants own, lease, leases to, or operates a place of public accommodation as

defined by the ADA. The property that is the subject of this suit is a shopping mall commonly called
         2:19-cv-01601-DCN          Date Filed 06/04/19       Entry Number 1-1         Page 4 of 19




Patriots 'Plaza, located a 845 Houston Northcutt Mt. Pleasant, Charleston County, South Carolina.

                                STATEMENT OF TRE CASE.

       This suit is a private action brought by a Plaintiff, who uses a wheelchair as a result of being a

quadriplegic, for injunctive relief under the federal American with Disabilities Act, 42 USC 12182.

       It would be wise to review the purposes of the access laws. First, the laws are about

opportunity; as former Speaker of the House Gingrich has stated, "Mr. Chairman, throughout our

history, our disabled citizens have not been provided the opportunity to participate in all phases of

society. 'Designed to provide 43,000,000 Americans with enhanced opportunities, this bill, then,

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(Statement of Rep. Gingrich).

       Second, the law is about the economic wellbeing of America. As former Attorney General

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Certainly,.. .the mainstreaming of persons with disabilities will result... in more persons with

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        Third, the law is to end segregation. As Senator Kennedy stated, "The Americans With

Disabilities Act will end this American apartheid. It will roll back the unthinking and unacceptable

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participation in our society by mindless biased attitudes and senseless physical barriers. 35 Cong. Rec.

54993 (daily ed. May 09, 1989) (Statement of Sen. Kennedy).

It is, respectfully, submitted that Senator Dole's opinion that the access laws are about dignity,
         2:19-cv-01601-DCN          Date Filed 06/04/19       Entry Number 1-1        Page 5 of 19




"Living independently and with dignity means opportunity to participate fully in every

activity of daily life136 Cong. Rec. S9695 (daily ed. July 13, 1990) (Statement of Sen. Dole).

        Plaintiffs seek an award of injunctive relief attorney fees and costs as a private attorney

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necessary and desirable for committed individuals to bring serial litigation advocating the time when

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     In Walker v. Guiffre, 200 N.J. 124, 156 (2012) in awarding an enhancement in a state case held,

"Her obligation served not her sole interests, but the interests of any and all who had been or who

might otherwise in the future have been denied access to the premises. The relief sought, both

because it was equitable in nature and because it was designed to serve a broad social purpose weighs

in favor of a continuous enhancement at the highest end of the spectrum."

                                        FIRST COUNT.

4.      Plaintiff is a frequent traveler to Charleston, South Carolina because

5_      On numerous occasions including September 12 ,2018 Lasky was a quest at Defendants'

Shopping Mall.

6.      His ability to use the services of the shopping mall was impaired because of lack of proper

Access to him and the disabled as a whole.

7.      Specially, the shopping mall parking does not provide proper parking for the disabled in that it

is on acute slopes has lack of proper signage not enough spaces. In that Lasky is a wheelchair user it

is more difficult for him to travel from point A to B, therefore, he has been discriminated against

under the ADA.
         2:19-cv-01601-DCN           Date Filed 06/04/19        Entry Number 1-1          Page 6 of 19




I 1.    The above violations are violations of the federal ADA Title Ill.

12.     The discriminatory violations described above are not an exclusive list of the defendants'

accessibility problems/violations. Plaintiff requires an inspection to identify all barriers.

14.     The plaintiff intends to be a frequent patron of defendants, when it complies with the ADA.

He will also return as a tester.

15.     Plaintiff seeks equitable relief in that to create access is readily achievable if the above

violations are pre-existing construction.

16.     Plaintiff reserves the right to file administrative remedies for damages under South Carolina

law.

Wherefore, plaintiff Lasky seeks:

       a) Injunctive relief under the ADA.

       b) Attorney fees and costs of suit under the ADA.




Date: March 17, 2019.                            By: s/Anthony J. Brady. Jr.
                                                       ANTHONY J. BRADY, JR,           UTRE
                                                       South Carolina Bar No. l5O6
                                                       Law Office of Anthony Brady, Jr.
                                                       1670-9 Springdale Drive
                                                       PMB 159.
                                                       Camden, South Carolina 29020
                                                       Email: ladbrady@gmail.com
                                                       5616036387
          2:19-cv-01601-DCN                          Date Filed 06/04/19                          Entry Number 1-1                                Page 7 of 19


STATE OF SOUTH CAROLINA
                                                                                                       IN THE COURT OF COMMON PLEAS.
COUNTY OF C

                                                                                                             CIVIL ACTI6ii CpirSROLEET,r,
                                                                Plaintiff(s)                                                                                                      ......,,•
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                                      VS.                                                                                                r.-....;
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Submitted By:                                                                                      SC Bar 0: t         5- 5 Uvl                                 f.:.)
Address:                          oic45sromus.,                                                    Telephone 4:
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                                                                                                                           rel ). 9/1.-ef • I • (c7
NOTE: The coversheet and information contained herein neither replaces nor supplements the filing and service of pleaditigs or tnfr papers as required by
law. This form is required for the use of the Clerk of Court for the purpose of docketing cases that are NOT E-Filed. It must be filled out completely.
signed, and dated. A copy of this coversheet must be served on the defendant(s) along with the Summons and Complaint. This form is NOT required to
be filed In E-Filed Cases.
                                              DOCKETING INF RMATION (Check all that apply)
                                                   *IfAction i • J dgmenVSettlement do not complete
       URY TRIAL demanded in complaint.                NON-JURY TRIAL demanded in complaint.
      This case is subject to ARBITRATION pursuant to the Court Annexed Alternative Dispute Resolution Rules.
      This case is subject to MEDIATION pursuant to the Court Annexed Alternative Dispute Resolution Rules.
      This case is exempt from ADR. (Proof of ADR/Exemption Attached)
                                                  NATURE OF ACTION (Check_One Box Below)
           Contracts                    Torts - Professional Malpractice                       Torts — Personal injury                              Real Property
                                                                                  0000000 00




1:1    Constructions (100)            0     Dental Malpractice (200)                           Conversion (310)                       O           Claim & Delivery (400)
O      Debt Collection (110)          CI    Legal Malpractice (210)                            Motor Vehicle Accident (320)           O           Condemnation (410)
O      General (130)                  O     Medical Malpractice (220)                          Premises Liability (330)               O           Foreclosure (420)
O      Breach of Contract (140)       Previous Notice of intent Case                           Products Liability (340)               O           Mechanic's Lien (430)
CI     Fraud/Bad Faith (150)          20-N1-           -                                       Personal Injury (350)                  o           Partition (440)
O      Failure to Deliver/            O       Notice/ File Med Mal (230)                       Wrongful Death (360)                   D              session (450)
       Warranty (160)                                                                          Assault/Battery (370)                              Building Code Violation (460)
                                      O       Other (299)
O      Employment Diserim (170)                                                                Slander/Libel (380)                    O           Other (499)
O      Employment (IRO)                                                                        Other (399)
O      Other (199)
       Inmate Petitions                     Administrative Law/Rellef                           Judgments/Settlements                                 Appeals
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O     PCR (500)                   O         Reinstate Dry. License (800)                       Death Settlement (700)                             Arbitration (900)
O     Mandamus (520)              O         Judicial Review (810)                              Foreign Judgment (710)                             Magistrate-Civil (910)
O     Habeas Corpus (530)         O         Relief (820)                                       Magistrate's Judgment (720)                        Magistrate-Criminal (920)
O     Other (599)                 O         Permanent injunction (830)                         Minor Settlement (730)                             Municipal (930)
                                  O         Forfeiture-Petition (840)                          Transcript Judgment (740)                          Probate Court (940)
                                  O         Forfeiture—Consent Order (850)                     Lis Pendens (750)                                  SCOOT (950)
                                  O         Other (899)                                        Transfer of Structured                             Worker's Comp (960)
                                                                                               Settlement Payment Rights                          Zoning Board (970)
                                                                                               Application (760)                                  Public Service Comm. (990)
                         Speelal/Complex /Other                                    O Confession of Judgment (770)                                  Employment Security Comm (991)
0     Environmental (600)          0 Pharmaceuticals (630)                         O  Petition for Workers
0     Automobile Ash. (610)        0 Unfair Trade Practices (640)                     Compensation Settlement                         n           Other (999)
                                                                                      Approval (780)
0     Medical (620)                   0      Out-of State Depositions (650)        O Incapacitated Adult
                                                                                     Settlement (790)
0     Other (699)                     0      Motion to Quash Subpoena in an        O Other (799)
                                             Out-of-County Action (660)
0     Sexual Predator (510)           0      Pre-Suit Discovery (670)
O     Permanent Restraining Order (680)
•     Interpleader (690)
Submitting Party Signature:                                                                                             Date:

Note: Frivolous civil proceedings may be subject to sanch                     pursuant to SCRCP, Rule I I, and the South Carolina Frivolous Civil
Proceedings Sanctions Act, S.C. Code Ann. §15-36-10 et. s

SCCA / 234 (02/2018)                                                                                                         Page 1 of 2
        2:19-cv-01601-DCN           Date Filed 06/04/19       Entry Number 1-1          Page 8 of 19




STATE OF SOUTH CAROLINA                      )       THE COURT OF COMMON
                                             )       PLEAS

                                             )       9TH JUDICIAL CIRCUIT
COUNTY OF CHARLESTON
                                             ) 9.0 19- CEI
                                                         - 0- 15(PS
GREGORY LASKY

               Plaintiff,                            FILE NO.
       vs.

SCG PATROITS PLAZA L.P.                              SUMMONS

               Defendant(s).

                                                                                                ‘77.1
                                                                                            -


TO THE DEFENDANT ABOVE-NANIED:
       YOU ARE HEREBY SUMMONED and required to answer the complaint herein, a copy of w
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such service, and if you fail to answer the complaint, judgment by default will be rendered against

you for the relief demanded in the complaint.



                                                      S/Anthony Brady (7
Camden, South Carolina.
                                                      Plaintiff/Attorney ar-Plaintiff
Dated: March 17, 2019.
                                        Address:      Anthony J. Brady Jr.
                                                      1670-9 Springdale Drive
                                                      PMB 159
                                                      Camden, South Carolina 29020
                                                      561-603-8387
                                                      Email: Ladbrady@gmailom
                                                      Attorney ID. 15506
             2:19-cv-01601-DCN           Date Filed 06/04/19       Entry Number 1-1             Page 9 of 19




    STATE OF SOUTH CAROLINA                                        THE COURT OF COMMON
                                                                   PLEAS

                                                   )               9TH JUDICIAL CIRCUIT             c....           GI
                                                                                                                            --

    COUNTY OF CHARLESTON                                                                   ,   ,
                                                                                           , „J.,                   ...es

                                                   )     D 1°1-     CR 10- 1505                                      70
                                                                                           \i     7:. •
    GREGORY LAS.KY                                 )               CASE NO.                 1     47.:,:l•
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                                                                                                   7      ;.:

                                                   )                                                      CI:
                   Plaintiff,                      )              Civil Action                      ...• r-,
            VS.                                    )                                                        ..4 -
                                                                                            \               C,
                                                   )
    SCG PATROiTS PLAZA L.P                         )              COMPLAINT
                                                   )
                   Defendant(s).                   )


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        2:19-cv-01601-DCN          Date Filed 06/04/19        Entry Number 1-1        Page 10 of 19




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                                STAT.EMENT OF THE CASE.

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       It would be wise to review the purposes of the access laws. First, the laws are about

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        2:19-cv-01601-DCN           Date Filed 06/04/19        Entry Number 1-1          Page 12 of 19




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Date: March 17, 2019.                            By: ,s/Anthony J. Brady, Jr.
                                                        ANTHONY J. BRADY, JR,
                                                        South Carolina Bar No.1  6
                                                       Law Office of Anthony Brady, Jr.
                                                        1670-9 Springdale Drive
                                                       PMB 159.
                                                       Camden, South Carolina 29020
                                                       Email: ladbrady©gmail.com
                                                        5616036387
          2:19-cv-01601-DCN                         Date Filed 06/04/19               Entry Number 1-1                   Page 13 of 19


' STATE OF SOUTH CAROLINA
                                                                                              IN THE COURT OF COMMON PLEAS.
  COUNTY OF                  Ch
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                                                                Plaintiff(s)                                  II il rnrr
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  NOTE: The coversheet and information contained herein neither replaces nor supplements the filing and service of plea                           (P7
                                                                                                                               or t r papers as require   by
  law. This form is required for the use of the Clerk of Court for the purpose of docketing cases that are NOT E-Filed. It must be filled out completely,
  signed, and dated. A copy of this coversheet must be served on the defendant(s) along with the Summons and Complaint. This form is NOT required to
  be filed In E-Filed Cases.
                                   DOCKETING ThIF RiVIATION (Check all that apply)
                                       *11 Action i • J dgmenffettlement do not complete
  d
  0 i,URY TRIAL demanded in complaint.                 NON-JURY TRIAL demanded in complaint.
  ( This case is subject to ARBITRATION pursuant to the Court Annexed Alternative Dispute Resolution Rules.
  0/  This case is subject to MEDIATION pursuant to the Court Annexed Alternative Dispute Resolution Rules.
  0 This case is exempt from ADR. (Proof of ADR/Exemption Attached)
                                      NATURE OF ACTION (Check One Box Below)

             Contracts                      Torts - Professional Malpractice        Torts - Personal Injury                 Real Property
  O     Constructions (100)             O     Denali Malpractice (200)         O    Conversion (310)                 O    Claim & Delivery (400)
  O     Debt Collection (110)           O     Lewd Malpractice (210)           O    Motor Vehicle Accident (320)     O    Condemnation (410)
  O     General (130)                   O     Medical Malpractice (220)        O    Premises Liability (330)         O    Foreclosure (420)
  O     Breach of Contract (140)        Previous Notice of intent Case t/      O    Products Liability (340)         O    Mechanic's Lien (430)
  El    Fraud/Bad Faith (150)           20     -NI-      -                     O    Personal injury (350)            El      ition (440)
  O     Failure to Deliver/             O      Notice/ File Med Mal (236)      O    Wrongful Death (360)             O      session (450)
        Warranty (160)
                                        O      Other (299)                     O    Assault/Battery (370)            dV
                                                                                                                      Building
                                                                                                                        heo9) 9Code Violation (466)
  O      Employment Discrim (170)                                              O    Slander/Libel (380)              o    Other
  O      Employment (180)                                                      O    Other (399)
  O      Other (199)
         Inmate Petitions                    Administrative Law/Rellef              Judgments/Settlements                     Appeals
  O     PCR (500)                   O        Reinstate Dry. License (800)      O   Death Settlement (700)           O     Arbitration (900)
  0     Mandamus (520)              0        Judicial Review (810)             O   Foreign Judgment (710)           O     Magistrate-Civil (910)
  O     Habeas Corpus (530)         O        Relief (820)                      O   Magistrate's Judgment (720)      O     Magistrate-Criminal (920)
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  Submitting Party Signature:                                                                               Date:

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  Proceedings Sanctions Act, S.C. Code Ann. §15-36-10 et. s

 SCCA / 234 (02/2018)                                                                                        Page 1 of 2
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STATE OF SOUTH CAROLINA                      )       THE COURT OF COMMON
                                             )       PLEAS

                                             )       9TH JUDICIAL CIRCUIT
COUNTY OF CHARLESTON                         )
                                                 q.0 I             11)-      (P
GREGORY LASKY

               Plaintiff,                            FILE NO.                      C:1
                                                                                                        1..4
       VS.                                                                         -.::         r •••   ,..0
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                                                                                                        •-sr
                                                                                           r-0-1        .....
SCG PATROITS PLAZA L.P.                              SUMMONS                               - E__
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                                                                                            '. :;..:    --.1
                                                                                                                : • •• ••
               Defendant(s).                                                                                    : 1
                                                                                           1.74tn       =        1.•    !




                                                                                    1
TO THE DEFENDANT ABOVE-NAMED:
       YOU ARE HEREBY SUMMONED and required to answer the complaint herein, a copy of w
hich is herewith served upon you, and to serve a copy of your answer to this complaint upon the subsc
riber, at the address shown below, within thirty (30) days after service hereof, exclusive of the day of
such service, and if you fail to answer the complaint, judgment by default will be rendered against

you for the relief demanded in the complaint.



                                                      S/Anthony Brady         )
Camden, South Carolina.
                                                      Plaintiff/Attorney fCaintiff
Dated: March 17, 2019.
                                        Address:     Anthony J. Brady Jr.
                                                     1670-9 Springdale Drive
                                                     PMB 159
                                                     Camden, South Carolina 29020
                                                     561-603-8387
                                                     Email: Ladbrady©gmail.om
                                                     Attorney ID. 15506
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STATE OF SOUTH CAROLINA                                        THE COURT OF COMMON
                                                               PLEAS

                                                               •••"111
                                               )               Y         JUDICIAL CIRCUIT
COUNTY OF CHARLESTON                                                                   .4.

                                                                                       1         ...I .:
                                                                                       1         ::V. •         14%)
GREGORY LASKY                                  )               CASE NO.                 .         C7,---- •      -..-1
                                                                                                      • ••• •




               Plaintiff,                      )              Civil Action                               :::-     ---
        vs.


SCG PATROITS PLAZA L.P                         )              COMPLAINT                      1

               Defendant(s).


Plaintiff, residing at 20 South Main Street ,Glassboro, New Jersey by way of complaint against the

Defendant states:

1.      This Honorable Court has jurisdiction in that it is a Court of general jurisdiction and the

Plaintiff has alleged a violation of federal law Title III of the Americans with 'Disabilities Act, 42

U.S.C. § 12101, et seq. Plaintiffs' claim is greater than $15,000.00 and venue is proper in Charleston

County because the cause of action arose in Charleston County and that Defendant resides in

Charleston County.

                                              PARTIES

2.      Plaintiff, resides at 20 South Main Street St Glassboro New Jersey who used to

reside in South Carolina. He is a disabled man because of a medical mishap becoming has partial

Tctraplegia. As a result he cannot walk and uses a wheelchair. He qualifies as an individual with

disabilities as defined by the federal Americans with Disabilities Act (ADA).

3.      The defendants own, lease, leases to, or operates a place of public accommodation as

defined by the ADA. The property that is the subject of this suit is a shopping mall commonly called
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Patriots Plaza, located a 845 Houston Northcutt Mt. Pleasant, Charleston County, South Carolina.

                                STATEMENT OF THE CASE.

       This suit is a private action brought by a Plaintiff, who uses a wheelchair as a result of being a

quadriplegic, for injunctive relief under the federal American with Disabilities Act, 42 USC 12182.

       It would be wise to review the purposes of the access laws. First, the laws are about

opportunity; as former Speaker of the House Gingrich has stated, "Mr. Chairman, throughout our

history, our disabled citizens have not been provided the opportunity to participate in all phases of

society. Designed to provide 43,000,000 Americans with enhanced opportunities, this bill, then,

embodies the conservative idea of opportunity." 136 Cong. Rec. H2631 (daily ed. May 22, 1990)

(Statement of Rep. Gingrich).

       Second, the law is about the economic wellbeing of America. As former Attorney General

Thornburgh testified, "We must recognize that passing comprehensive civil rights legislation

protecting persons with disabilities will have direct and tangible benefits for our country.

Certainly,... the mainstreaming of persons with disabilities will result... in more persons with

disabilities working, in increasing earnings, in less dependence on the Social Security System for

financial support, in increased spending on consumer goods, and increased tax revenues." Testimony

before House Committee on Civil and Constitutional Rights, Ser No. 101-58, Oct. 11, 1989, p. 811.

       Third, the law is to end segregation. As Senator Kennedy stated, "The Americans With

Disabilities Act will end this American apartheid. It will roll back the unthinking and unacceptable

practices by which disabled Americans today are segregated, excluded, and fenced off from fair

participation in our society by mindless biased attitudes and senseless physical barriers. 35 Cong. Rec.

54993 (daily ed. May 09, 1989) (Statement of Sen. Kennedy).

It is, respectfully, submitted that Senator Dole's opinion that the access laws are about dignity,
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 "Living independently and with dignity means opportunity to participate fully in every

•activity of daily life136 Cong. Rec. S9695 (daily ed. July 13, 1990) (Statement of Sen. Dole).

         Plaintiffs seek an award of injunctive relief attorney fees and costs as a private attorney

 general. The Courts have explained the role of private enforcement of the access laws. The 9th Circuit

 explained, "For the ADA to yield its promise of equal access for the disabled it may be indeed

 necessary and desirable for committed individuals to bring serial litigation advocating the time when

 public accommodations will be compliant with the ADA", D'Lil v. Best Western Encino-Lodge &

 Suites, 538 F.3d 1031 (9'" Cir. 2008).

      In Walker v. Guiffre, 200 N.J. 124, 156 (2012) in awarding an enhancement in a state case held,

• "Her obligation served not her sole interests, but the interests of any and all who had been or who

 might otherwise in the future have been denied access to the premises. The relief sought, both,

 because it was equitable in nature and because it was designed to serve a broad social purpose weighs

 in favor of a continuous enhancement at the highest end of the spectrum."

                                          FIRST COUNT.

 4.      Plaintiff is a frequent traveler to Charleston, South Carolina because

 5.      On numerous occasions including September 12 ,2018 Lasky was a quest at Defendants'

 Shopping Mall.

 6.      His ability to use the services of the shopping mall was impaired because of lack of proper

 Access to him and the disabled as a whole.

 7.      Specially, the shopping mall parking does not provide proper parking for the disabled in that it

 is on acute slopes has lack of proper signage not enough spaces. In that Lasky is a wheelchair user it

 is more difficult for him to travel from point A to B, therefore, he has been discriminated against

 under the ADA.
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I I.    The above violations are violations of the federal ADA Title 111.

12.     The discriminatory violations described above are not an exclusive list of the defendants'

accessibility problems/violations. Plaintiff requires an inspection to identify all barriers.

14.     The plaintiff intends to be a frequent patron of defendants, when it complies with the ADA.

He will also return as a tester.

15.     Plaintiff seeks equitable relief in that to create access is readily achievable if the above

violations are pre-existing construction.

16.     Plaintiff reserves the right to file administrative remedies for damages under.South Carolina

law.

Wherefore, plaintiff Lasky seeks:

       a) Injunctive relief under the ADA.

       b) Attorney fees and costs of suit under the ADA.




Date: March 17, 2019.                            By:   s/Anthony J. Brady. Jr. .
                                                       ANTHONY J. BRADY, JR,            UIRE
                                                       South Carolina Bar No.1   6
                                                       Law Office of Anthony Brady, Jr.
                                                       1670-9 Springdale Drive
                                                       PMB 159.
                                                       Camden, South Carolina 29020
                                                       Email: ladbrady@gmail.com
                                                       5616036387
            2:19-cv-01601-DCN                         Date Filed 06/04/19                  Entry Number 1-1                            Page 19 of 19


. STATE OF SOUTH CAROLINA
                                                                                                 IN THE COURT OF COMMON PLEAS.
 COUNTY OF                  Ch                                                                                                                                 I.., •
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                  ce                                                                                   CIVIL ACTIOil CpVERIEWEET.,.,
                                                                  Plaintiff(s) )                                                  t
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 Submitted By:                                                                               SC Bar ft:
 Address:                                                                                    Telephone N:                 -                'a            •-%
            5                                                                                Fax #:
       C4       d CAI                          7 C:70     2cv                                Other:
                                                                                                        X-- t    1 icsr--6 (14Cci9n>ri •                                  I-- ( 07
 NO E: The coversheet and information contained herein neither replaces nor supplements the filing and service of pleadings or tn,er papers as required byT
 law. This form is required fur the use of the Clerk of Court for the purpose of docketing cases that are NOT E-Filed. It must be filled out completely.
 signed, and dated. A copy of this coversheet must be served on the defendant(s) along with the Summons and Complaint. This form is NOT required to
 be filed in E-Filed Cases.
                                   DOCKETING INF RMATION (Check all that apply)
                                       * If Action i • J dgmenaettlement do not complete
  o    URY TRIAL demanded in complaint.                 NON-JURY TRIAL demanded in complaint.
  El This case is subject to ARBITRATION pursuant to the Court Annexed Alternative Dispute Resolution Rules.
      This case is subject to MEDIATION pursuant to the Court Annexed Alternative Dispute Resolution Rules.
  o This case is exempt from ADR. (Proof of ADR/F.xerription Attached)
                                      NATURE OF ACTION (Check One Box Below)

            Contracts                       Torts - Professional Malpractice             Torts— Personal Injury                              Real Property
  O     Constructions (100)               CI   Dental Malpractice (200)            CI    Conversion (310)                       O          Claim & Delivery (400)
  O     Debt Collection (110)             CI   Legal Malpractice (210)             CI    Motor Vehicle Accident (320)           O          Condemnation (410)
  O     General (130)                     CI Medical Malpractice (220)             O     Premises Liability (330)               O          Foreclosure (420)
  CI    Breach of Contract (140)          Previous Notice of Intent Case P         O     Products Liability (340)               O          Mechanic's Lien (430)
  O     Fraud/Bad Faith (150)             20 -NI- -                                O     Personal Injury (350)                  O          Partition (440)
  O     Failure to Deliver/               O      Notice/ File Med Mal (230)        :I    Wrongful Death (360)                   O             session (450)
        Warranty (160)                                                             O     Assault/Battery (370)                             Building Code Violation (460)
                                          o      Other (299)
  O     Employment Discrim (170)                                                   O     Slander/Libel (380)                    O          Other (499)
  O     Employment (180)                                                           O     Other (399)
  O     Other (199)
        Inmate Petitions                       Administrative Law/Relief                  Judgments/Settlements                                Appeals
                                                                                                                            0 00 0000000




  O    PCR (500)                   O           Reinstate Dry. License (800)        O     Death Settlement (700)                            Arbitration (900)
  c]   Mandamus (520)              11:1        Judicial Review (810)               O     Foreign Judgment (710)                            Magistrate-Civil (910)
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